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CLERK US DISTRICT COURT
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oe IN THE UNITED STATES DISTRICT COURT oo
[ [| CH\ 2A] FOR THE NORTHERN DISTRICT OF TEXAS®23 MAY 23 PM 1: 48
WINTNTT DALLAS DIVISION
DEPUTY creny MS :
UNITED STATES OF AMERICA NO.
¢ 92 Y
Vv. ee Oe fy QJ WW:
DANISHA RENEE JONES
INDICTMENT
The Grand Jury charges:
Count One

Possession of a Firearm by a Convicted Felon
(Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

On or about March 21, 2023, in the Dallas Division of the Northern District of
Texas, the defendant, Danisha Renee Jones, knowing that she had been convicted in a
court of a crime punishable by imprisonment for a term exceeding one year, that is, a
felony offense, did knowingly possess, in and affecting interstate and foreign commerce,
a firearm, to wit: a Taurus, model G2c, 9mm caliber pistol, bearing serial number
1C0845 14.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).

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Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction for the offense alleged in Count One of this Indictment and
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendant, Danisha Renee
Jones, shall forfeit to the United States of America any firearm and ammunition involved
or used in the commission of the offense.

This property includes, but is not limited to, the following:

1. a Taurus, model G2c, 9mm caliber pistol, bearing serial number 1C0845 14,
and any ammunition recovered with the firearm.

 

LEIGHA SIMONTON
UNITED STATES ATTORNEY

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

DANISHA RENEE JONES

 

INDICTMENT
18 U.S.C. §§ 922(g)(1) and 924(a)(8)
Possession of a Firearm by a Convicted Felon

(Count 1)

Forfeiture Notice
18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)

1 Count

 

A true bill rendered

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DALLAS

 

 

 

Filed in open court this Zday of May, 2023.

Warrant to be Issued - In State Custody

 

UNITED STATESMAGJSTRATE JUDGE

Magistrate Court Number: 3:23-MJ-321-BH

 
